      20-06008-rdd       Doc 2     Filed 04/02/20       Entered 04/02/20 12:15:56          Summons       Pg 1
                                                         of 1
                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: Leon Lowenthal                                                            Bankruptcy Case No.: 19−24115−rdd

Darren Singer
                                                     Plaintiff(s),
−against−                                                                   Adversary Proceeding No. 20−06008−rdd
Leon Lowenthal
Prosperity LM, INC.
PW Insurance Agency Corp.
The Birch Group Inc.
John Doe #1 through Jane Doe #10
                                                    Defendant(s)

                    SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                          IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days, to:

Address of Clerk:
                                                        Clerk of the Court
                                                        United States Bankruptcy Court
                                                        Southern District of New York
                                                        300 Quarropas Street
                                                        White Plains, NY 10601
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
Name and Address of Plaintiff's Attorney:
                                                          Jacob Ginsburg
                                                          Jacob Ginsburg, Esq. PLLC
                                                          One Concord Drive
                                                          Monsey, NY 10952
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place:
                                                                 Room: Courtroom 118, White Plains
United States Bankruptcy Court                                   Courthouse, 300 Quarropas Street, White
Southern District of New York                                    Plains, NY 10601
300 Quarropas Street
White Plains, NY 10601                                           Date and Time: 7/24/20 at 10:00 AM
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


Dated: 4/2/20                                              Vito Genna

                                                           Clerk of the Court

                                                           By: /s/ Narotam Rai

                                                           Deputy Clerk
